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F L E X N E R




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                       Counsel for Plaintiffs
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                    11                 UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
S C H I L L E R




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                    13 BROIDY CAPITAL MANAGEMENT                      Case No. 18-cv-02421-JFW
                       LLC and ELLIOTT BROIDY,
                    14                                                PLAINTIFFS’ SUPPLEMENTAL
                    15              Plaintiffs,                       MEMORANDUM IN SUPPORT OF
B O I E S




                                                                      ENTRY OF THEIR PROPOSED
                    16        v.                                      PROTECTIVE ORDER
                    17
                         STATE OF QATAR, STONINGTON                   The Honorable Charles F. Eick
                    18
                         STRATEGIES LLC, NICOLAS D.
                    19   MUZIN, GLOBAL RISK ADVISORS                  Hearing Date: August 24, 2018
                         LLC, KEVIN CHALKER, DAVID                    Time: 9:30 a.m.
                    20
                         MARK POWELL, MOHAMMED BIN                    Amended Complaint: May 24, 2018
                    21   HAMAD BIN KHALIFA AL THANI,                  Discovery Cut-Off: March 1, 2019
                         AHMED AL-RUMAIHI, and DOES 1-                Pretrial Conference Date: June 7, 2019
                    22
                         10,                                          Trial Date: June 25, 2019
                    23
                                    Defendants.
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                                                                                                 Case No. 18-cv-02421-JFW
                                                  Plaintiffs’ Supplemental Memorandum in Support of Entry of Protective Order
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                     1                                         ARGUMENT
                     2        Plaintiffs respectfully submit this brief supplemental memorandum in
                     3 support of entry of their proposed protective order, submitted as Exhibit 2 to
                     4 the Joint Stipulation Pursuant to Local Rule 37-2 Regarding Defendant State
                     5 of Qatar’s Motion for Protective Order, Dkt. 185-2 (“Joint Stipulation”).
                     6        As an initial matter, the Court’s dismissal of the State of Qatar from this
                     7 action does not alter the need for the Court to resolve this motion. Although
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                     8 entitled “Qatar’s Motion,” the Joint Stipulation presents two competing
F L E X N E R




                     9 protective orders for the Court’s consideration. One is proposed by Plaintiffs
                   10 (Exhibit 2), and one is proposed by the Stonington and GRA Defendants in
                   11 addition to Qatar (Exhibit 1). The remaining parties to this action, therefore,
S C H I L L E R




                   12 remain at odds over the appropriate form of a protective order for this case.
                   13         Qatar’s dismissal from this action, however, is not irrelevant—it
                   14 strengthens Plaintiffs’ position on each of the three issues that the parties
                   15 dispute. First, the need for a highly confidential designation in the protective
B O I E S




                   16 order is eliminated by the fact that Qatar will no longer be subject to party
                   17 discovery in this case. Plaintiffs reserve the right to seek discovery from
                   18 Qatar through whatever mechanisms are available, but the practical reality is
                   19 that absent party discovery Plaintiffs’ ability to get information from Qatar is
                   20 likely significantly curtailed (or at least burdened by international procedure).
                   21 Moreover, if Plaintiffs do seek documents from Qatar, there will be a separate
                   22 procedure through which Plaintiffs do so and Qatar will have the opportunity
                   23 to seek whatever protections it needs during that process. In addition, as
                   24 explained in Plaintiffs’ section of the Joint Stipulation, and more fully in
                   25 Plaintiffs’ opposition to Qatar’s motion to stay, Dkt. 88, Qatar’s efforts to
                   26 extend the Vienna Conventions to apply to documents belonging to private
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                                                                 -1-                         Case No. 18-cv-02421-JFW
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                     1 United States persons and entities has no legal support and is undermined by
                     2 Qatar’s contractual relations with those third parties and by U.S. statutes and
                     3 regulations.
                     4        Second, the rationale for a blanket designation of documents as highly
                     5 confidential—Qatar’s desire to have 20 days to assert confidentiality over
                     6 other persons’ documents—is fatally undermined. With Qatar’s exit from the
                     7 case, discovery propounded in this action will not be shared with Qatar. If
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                     8 Qatar wishes to have a role in this case, it will need to make a separate motion
F L E X N E R




                     9 for whatever relief it believes is appropriate (and accept the consequences of
                   10 subjecting itself to this Court’s jurisdiction). Those issues, however, are not
                   11 ripe for review—Qatar may never seek a role in the litigation—and there is no
S C H I L L E R




                   12 reason to include a provision in the protective order that was solely for the
                   13 benefit of a party that has now been dismissed from the action at its own
                   14 request.
                   15         Third, Defendants seek special treatment at trial through a reversal of
B O I E S




                   16 the burden that the party seeking protections bears even when the documents
                   17 were protected for the purposes of discovery. See Center for Auto Safety v.
                   18 Chrysler Group LLC, 809 F.3d 1092, 1096-97 (9th Cir. 2016). Whatever
                   19 special procedures may have been arguably appropriate when a sovereign
                   20 nation was a defendant are no longer applicable. This case now involves
                   21 private plaintiffs suing private defendants and there is no reason that the
                   22 default rules applicable to all federal litigations should not apply here.
                   23         In sum, there is no justification for the extraordinary protections sought
                   24 by Defendants. Although this was always true, the dismissal of the only
                   25 arguably extraordinary party—the State of Qatar—makes the conclusion
                   26 inescapable.
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                   28                         Plaintiffs’ Supplemental Memorandum in Support of Entry of Protective Order
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                     1                                     Respectfully submitted,
                     2
                         Dated: August 10, 2018            BOIES SCHILLER FLEXNER LLP
                     3
                                                           By:      /s/ Lee S. Wolosky
                     4
                                                                    Lee S. Wolosky
                     5                                              Counsel for Plaintiffs
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                   28                        Plaintiffs’ Supplemental Memorandum in Support of Entry of Protective Order
